Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 1 of 13. PageID #: 1363




                          Exhibit J
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 2 of 13. PageID #: 1364
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 3 of 13. PageID #: 1365
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 4 of 13. PageID #: 1366
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 5 of 13. PageID #: 1367
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 6 of 13. PageID #: 1368
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 7 of 13. PageID #: 1369
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 8 of 13. PageID #: 1370
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 9 of 13. PageID #: 1371
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 10 of 13. PageID #: 1372
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 11 of 13. PageID #: 1373
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 12 of 13. PageID #: 1374
Case: 1:23-cv-00631-BMB Doc #: 40-11 Filed: 04/23/24 13 of 13. PageID #: 1375
